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SARAH ALANZO-CABARDO and
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

QUINTIN-JOHN D’AGIRBAUD, II, CIVIL NO. CV18-00021 JMS-RLP

DEFENDANTS SARAH ALANZO-
CABARDO AND DOVIE BORGES’
BRIEF IN OPPOSITION TO
PLAINTIFF’S MOTION TO FILE
AMENDED COMPLAINT, FILED
JUNE 28, 2018 [ECF NO. 1];
CERTIFICATE OF SERVICE

Plaintiff,
VS.

SARAH ALANZO, DOVIE BORGES,
NOLAN ESPINDA, SCOTT
HARRINGTON, SHARI KIMITI,
TERESA MIIKE, THOMAS EVANS, B.
ORNELLAS, STATE OF HAWAJTL,

Defendants.

 

NO TRIAL DATE.

 

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DEFENDANTS SARAH ALANZO-CABARDO AND DOVIE BORGES’
BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION TO FILE AMENDED
COMPLAINT, FILED JUNE 28, 2018 [ECF NO. 1]

Comes now, Defendants SARAH ALANZO-CABARDO and DOVIE
BORGES (“Defendants”), by and through their counsel, Russell A. Suzuki,
Attorney General of the State of Hawaii, Caron M. Inagaki and John M. Cregor,
Jr., Deputy Attorneys General, responds to the Court Order of June 29, 2018 [ECF
No. 30] requesting a briefing of the Plaintiff’s Motion to File an Amended
Complaint [ECF No. 29], Defendants Sarah Alanzo-Cabardo and Dovie Borges
state as follows:

BACKGROUND

On January 12, 2018, Plaintiff, D’ Agirbaud filed a 14-page Prisoner pro se
civil rights complaint against several employees of the Department of Public
Safety. The filing included a 3-page Exhibits Index and 83 pages of exhibits. The
Complaint was screened in due course by Judge J. Michael Seabright (Judge
Seabright), in accordance with the requirements of 28 USC § 1915A(a), who
entered his screening order dismissing the complaint in part on February 27, 2018
[ECF No. 7]. Some of Plaintiff’s claims for relief were dismissed with prejudice
as incapable of stating a claim and others were dismissed without prejudice.

Claims as to Defendants Alanzo and Borges survived and service was ordered. As

to the claims dismissed without prejudice, Plaintiff was granted until March 28,

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2018 to file an amended complaint or to notify the court of his election to stand on
his complaint as limited by the screening order. On March 12, 2018, Plaintiff filed
his election to stand on his complaint as limited by the Court. More than three
months after filing his election to stand on his original complaint, Plaintiff now
files his motion for leave to amend that complaint [ECF No. 29]. His request to
amend not only violates Judge Seabright’s screening order but also his prior
election to stand on his original complaint stands as a waiver of his right to even
request leave to amend.

Moreover, Plaintiffs proposed amended complaint purports to add seven
new defendants all related to the same occurrence: the discovery of a “brown leafy
substance” in Plaintiff's locker at Waiawa Correctional Facility. [ECF No. 7,
PageID#:133-4.] In his screening order, pages 11-12, Judge Seabright dealt with
that issue, finding no expectation of privacy and dismissed the count with
prejudice. [ECF No. 7, PageID#:138-9.] As to the sequelae of the search and
seizure, including direct punishment and change in classification, Judge Seabright
dismissed without prejudice, but that dismissal was subject to the same deadline
imposed on the grant of leave to amend.

It is interesting to note that Plaintiff appears to attempt to get around the
foregoing ruling by pleading in each of the proposed paragraphs that it was his

Eighth Amendment Rights which were violated rather than Fourth and Fourteenth

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as discussed by Judge Seabright. Not only does the Eighth Amendment not apply
on its face, Judge Seabright also pointed out at page 18 of his order:

Prison officials are liable under the Eighth Amendment only if they

demonstrate deliberate indifference to conditions posing a substantial risk of

serious harm to an inmate; deliberate indifference occurs when an official
acts or fails to act despite his subjective knowledge of a substantial risk of
serious harm [citing] Farmer v. Brennan, 511 US at 834, Clem v. Lomeli,

566 F.3d at 1181, and Hearns v. Terhune, 413 F.3d at 1040.

[ECF No. 7, PageID#: 145]

Plaintiff has affirmatively waived any right he might have to amend his
complaint and, moreover, his proposed amendment would be futile as the facts as
alleged have already been found not to state claims upon which relief can be
granted. [ECF No. 7, PageID#:150]

DATED: Honolulu, Hawaii, July 16, 2018.

STATE OF HAWAII
RUSSELL A. SUZUKI

Attorney General of Hawaii

/s/ John M. Cregor
JOHN M. CREGOR, JR.
Deputy Attorney General

Attorney for Defendants

SARAH ALANZO-CABARDO and
DOVIE BORGES

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